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 7
 8                                   UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

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11
      DALI WIRELESS, INC.,                            Case No: 3:20-cv-06469-EMC
12
                             Plaintiff,
13                                                    DALI WIRELESS, INC.’S
             v.
                                                      ADMINISTRATIVE MOTION TO
14                                                    CONSIDER WHETHER ANOTHER
                                                      PARTY’S MATERIAL SHOULD BE
15                                                    SEALED
      CORNING OPTICAL COMMUNICATIONS
16
      LLC,
17
                             Defendant.
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                                                                     Case No 3:20-cv-06469-EMC.
      DALI’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE
                                             SEALED
                Case 3:20-cv-06469-EMC Document 134 Filed 03/09/22 Page 2 of 4



 1          Pursuant to Civil Local Rules 7-11(a) and 79-5(f), Plaintiff Dali Wireless, Inc. (“Dali”)
 2   respectfully submits this Administrative Motion to Consider Whether Another Party’s Material Should
 3   Be Sealed in connection with Dali’s Opposition to Defendant’s Renewed Motion and Motion for
 4   Judgment on the Pleadings of No Willful Infringement (“Dali’s Opposition”).
 5          Certain portions of Dali’s Opposition and certain documents filed as exhibits to the Szpajda
 6   Decl.1 in support thereof contain information that Defendant Corning Optical Communications, LLC
 7   (“Corning”) has designated CONFIDENTIAL or CONFIDENTIAL ATTORNEY EYES ONLY
 8   pursuant to the parties’ Stipulated Protective Order (“Protective Order”) entered by this Court on
 9   November 10, 2021, ECF No. 63. Accordingly, Dali seeks to file under seal the documents and
10   information as listed below:
                                              Portions to Be Filed
11                 Document                                                       Designating Party
                                                  Under Seal
12              Dali’s Opposition             Highlighted in yellow                     Corning
13      Exhibit B to Szpajda Decl.               Entire document                        Corning
14       Exhibit F to Szpajda Decl.              Entire document                        Corning
15
        Exhibit G to Szpajda Decl.               Entire document                        Corning
16
        Exhibit H to Szpajda Decl.               Entire document                        Corning
17
        Exhibit M to Szpajda Decl.               Entire document                        Corning
18
        Exhibit N to Szpajda Decl.               Entire document                        Corning
19
        Exhibit O to Szpajda Decl.               Entire document                        Corning
20
         Exhibit S to Szpajda Decl.              Entire document                        Corning
21
         Exhibit T to Szpajda Decl.              Entire document                        Corning
22
        Exhibit U to Szpajda Decl.               Entire document                        Corning
23
            Materials and documents may be provisionally filed under seal pursuant to Civil Local Rule 79-
24
     5(f) when the document, or portions thereof, “has been designated as confidential by another party or
25
26
            1
27           “Szpajda Decl.” refers to the Declaration of Stefan Szpajda In Support of Dali Wireless Inc.’s
     Opposition to Corning’s Motion for Judgment on the Pleadings of No Willful Infringement, filed
28   concurrently herewith.
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 1   non-party.” L.R. 79-5(f). Dali has redacted the yellow-highlighted portions of its Opposition under
 2   seal only because Corning has designated the information contained therein CONFIDENTIAL and/or
 3   CONFIDENTIAL ATTORNEY EYES ONLY under the Stipulated Protective Order. Additionally, the
 4   exhibits to the Szpajda Decl. listed above were designated by Corning as containing CONFIDENTIAL
 5   and/or CONFIDENTIAL ATTORNEY EYES ONLY information under the Stipulated Protective
 6   Order. Dali takes no position on the merits of sealing Corning’s designated material and expects
 7   Corning to file one or more declarations in accordance with Local Rule 79-5(f)(3).
 8          In compliance with Civil Local Rule 79-5(d), redacted and unredacted versions of the above
 9   listed documents accompany this Administrative Motion. In accordance with Local Rule 79-5(c)(3),
10   Dali has also filed a Proposed Order herewith.
11
12    Dated: March 9, 2022                            /s/ Stefan Szpajda
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